§ 762
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WESTERN DISTRICT OF TENNESSEE LOO¢',@‘

ORDER OF PRODUCTION
NO= 1:03-10012-01

USA V~ Darryl Susewitt

AD Prosequendum
FOR= Re-Senteneing

TO: USM, Western District of TN
Warden, FCI - Memphis

YOU ARE HEREBY COMMANDED to have the person of Darryl Susewitt,
lnmate # 17631-018, by you restrained of his liberty, as it is said, by whatsoever names detained,
together with the day and cause of his being taken and detained, before the I-Ionorable James D.
Todd, U. S. Distn`ct Court Judge, for the Western District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 9:00 a.m. on the 16th day of June, 2005, then and there to
do, submit to, and receive whatsoever the said Judge shall then and there determine in that behalf;
and have you then and there this Writ; further, to hold him in federal custody until disposition of this
case and to produce him for such other appearances as this court may direct.
ENTERED THIS 19‘h DAY OF MAY, 2005.

%>‘M

JAME .TODD
UNIT STATES DISTRIC'I` JUDGE

Thts document entered on the docket shoot tn compliance
with Ftule 55 and!or 32(b) FRCrP on

 

WESERNT

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case l:03-CR-10012 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

